EXHIBIT #1
                                                                            S.B.ANo.A8




1                                         AN ACT

2    relating to abortion, including abortions after detection of an

3    unborn child ’s heartbeat; authorizing a private civil right of

4    action.

5             BE IT ENACTED BY THE LEGISLATURE OF THE STATE OF TEXAS:

6             SECTIONA1.AAThis Act shall be known as the Texas Heartbeat

7    Act.

8             SECTIONA2.AAThe legislature finds that the State of Texas

9    never    repealed,   either   expressly      or   by   implication,     the   state

10   statutes enacted before the ruling in Roe v. Wade, 410 U.S. 113

11   (1973), that prohibit and criminalize abortion unless the mother ’s

12   life is in danger.

13            SECTIONA3.AAChapter 171, Health and Safety Code, is amended

14   by adding Subchapter H to read as follows:

15                   SUBCHAPTER H.     DETECTION OF FETAL HEARTBEAT

16            Sec.A171.201.AADEFINITIONS.         In this subchapter:

17                   (1)AA"Fetal heartbeat" means cardiac activity or the

18   steady    and   repetitive    rhythmic   contraction      of    the   fetal   heart

19   within the gestational sac.

20                   (2)AA"Gestational age" means the amount of time that

21   has elapsed from the first day of a woman ’s last menstrual period.

22                   (3)AA"Gestational sac" means the structure comprising

23   the extraembryonic membranes that envelop the unborn child and that

24   is   typically    visible    by   ultrasound      after   the   fourth   week   of




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1    pregnancy.

2                  (4)AA"Physician"            means   an     individual         licensed     to

3    practice medicine in this state, including a medical doctor and a

4    doctor of osteopathic medicine.

5                  (5)AA"Pregnancy" means the human female reproductive

6    condition that:

7                         (A)AAbegins with fertilization;

8                         (B)AAoccurs          when    the    woman      is     carrying      the

9    developing human offspring; and

10                        (C)AAis      calculated       from    the      first   day    of    the

11   woman ’s last menstrual period.

12                 (6)AA"Standard medical practice" means the degree of

13   skill,    care,   and   diligence         that    an    obstetrician        of    ordinary

14   judgment, learning, and skill would employ in like circumstances.

15                 (7)AA"Unborn child" means a human fetus or embryo in any

16   stage of gestation from fertilization until birth.

17            Sec.A171.202.AALEGISLATIVE FINDINGS.              The legislature finds,

18   according to contemporary medical research, that:

19                 (1)AAfetal heartbeat has become a key medical predictor

20   that an unborn child will reach live birth;

21                 (2)AAcardiac         activity       begins       at      a    biologically

22   identifiable      moment   in     time,    normally     when     the     fetal   heart   is

23   formed in the gestational sac;

24                 (3)AATexas has compelling interests from the outset of

25   a woman ’s pregnancy in protecting the health of the woman and the

26   life of the unborn child; and

27                 (4)AAto      make    an     informed      choice      about    whether     to




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1    continue    her    pregnancy,      the   pregnant       woman      has   a   compelling

2    interest in knowing the likelihood of her unborn child surviving to

3    full-term birth based on the presence of cardiac activity.

4             Sec.A171.203.AADETERMINATION OF PRESENCE OF FETAL HEARTBEAT

5    REQUIRED;       RECORD.     (a)AAFor     the     purposes     of    determining      the

6    presence of a fetal heartbeat under this section, "standard medical

7    practice" includes employing the appropriate means of detecting the

8    heartbeat based on the estimated gestational age of the unborn

9    child and the condition of the woman and her pregnancy.

10            (b)AAExcept as provided by Section 171.205, a physician may

11   not knowingly perform or induce an abortion on a pregnant woman

12   unless    the    physician   has    determined,        in   accordance       with    this

13   section, whether the woman ’s unborn child has a detectable fetal

14   heartbeat.

15            (c)AAIn   making    a   determination        under   Subsection      (b),   the

16   physician must use a test that is:

17                   (1)AAconsistent     with       the   physician ’s    good    faith   and

18   reasonable understanding of standard medical practice; and

19                   (2)AAappropriate for the estimated gestational age of

20   the unborn child and the condition of the pregnant woman and her

21   pregnancy.

22            (d)AAA physician making a determination under Subsection (b)

23   shall record in the pregnant woman ’s medical record:

24                   (1)AAthe estimated gestational age of the unborn child;

25                   (2)AAthe method used to estimate the gestational age;

26   and

27                   (3)AAthe test used for detecting a fetal heartbeat,




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1    including the date, time, and results of the test.

2          Sec.A171.204.AAPROHIBITED        ABORTION        OF    UNBORN   CHILD       WITH

3    DETECTABLE FETAL HEARTBEAT; EFFECT.              (a)AAExcept as provided by

4    Section 171.205, a physician may not knowingly perform or induce an

5    abortion on a pregnant woman if the physician detected a fetal

6    heartbeat for the unborn child as required by Section 171.203 or

7    failed to perform a test to detect a fetal heartbeat.

8          (b)AAA    physician    does    not    violate     this    section      if   the

9    physician performed a test for a fetal heartbeat as required by

10   Section 171.203 and did not detect a fetal heartbeat.

11         (c)AAThis section does not affect:

12               (1)AAthe provisions of this chapter that restrict or

13   regulate an abortion by a particular method or during a particular

14   stage of pregnancy; or

15               (2)AAany other provision of state law that regulates or

16   prohibits abortion.

17         Sec.A171.205.AAEXCEPTION        FOR    MEDICAL        EMERGENCY;      RECORDS.

18   (a)AASections   171.203     and   171.204   do   not   apply    if    a   physician

19   believes a medical emergency exists that prevents compliance with

20   this subchapter.

21         (b)AAA physician who performs or induces an abortion under

22   circumstances   described     by    Subsection     (a)      shall    make   written

23   notations in the pregnant woman ’s medical record of:

24               (1)AAthe physician ’s belief that a medical emergency

25   necessitated the abortion; and

26               (2)AAthe medical condition of the pregnant woman that

27   prevented compliance with this subchapter.




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1          (c)AAA physician performing or inducing an abortion under

2    this section shall maintain in the physician ’s practice records a

3    copy of the notations made under Subsection (b).

4          Sec.A171.206.AACONSTRUCTION                OF     SUBCHAPTER.            (a)AAThis

5    subchapter does not create or recognize a right to abortion before a

6    fetal heartbeat is detected.

7          (b)AAThis subchapter may not be construed to:

8                   (1)AAauthorize       the    initiation        of   a   cause   of   action

9    against   or   the    prosecution     of    a   woman    on    whom    an   abortion   is

10   performed or induced or attempted to be performed or induced in

11   violation of this subchapter;

12                  (2)AAwholly or partly repeal, either expressly or by

13   implication,     any    other      statute      that    regulates       or    prohibits

14   abortion, including Chapter 6-1/2, Title 71, Revised Statutes; or

15                  (3)AArestrict a political subdivision from regulating

16   or prohibiting abortion in a manner that is at least as stringent as

17   the laws of this state.

18         Sec.A171.207.AALIMITATIONS                  ON         PUBLIC         ENFORCEMENT.

19   (a)AANotwithstanding          Section      171.005      or    any     other    law,    the

20   requirements     of    this   subchapter        shall   be     enforced     exclusively

21   through the private civil actions described in Section 171.208.                        No

22   enforcement of this subchapter, and no enforcement of Chapters 19

23   and 22, Penal Code, in response to violations of this subchapter,

24   may be taken or threatened by this state, a political subdivision, a

25   district or county attorney, or an executive or administrative

26   officer   or   employee       of   this   state   or    a     political     subdivision

27   against any person, except as provided in Section 171.208.




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1           (b)AASubsection (a) may not be construed to:

2                   (1)AAlegalize the conduct prohibited by this subchapter

3    or by Chapter 6-1/2, Title 71, Revised Statutes;

4                   (2)AAlimit in any way or affect the availability of a

5    remedy established by Section 171.208; or

6                   (3)AAlimit the enforceability of any other laws that

7    regulate or prohibit abortion.

8           Sec.A171.208.AACIVIL LIABILITY FOR VIOLATION OR AIDING OR

9    ABETTING VIOLATION.           (a)AAAny person, other than an officer or

10   employee of a state or local governmental entity in this state, may

11   bring a civil action against any person who:

12                  (1)AAperforms or induces an abortion in violation of

13   this subchapter;

14                  (2)AAknowingly engages in conduct that aids or abets

15   the performance or inducement of an abortion, including paying for

16   or   reimbursing      the    costs    of   an   abortion    through    insurance     or

17   otherwise, if the abortion is performed or induced in violation of

18   this subchapter, regardless of whether the person knew or should

19   have   known   that    the   abortion      would   be   performed     or   induced   in

20   violation of this subchapter; or

21                  (3)AAintends      to    engage    in   the   conduct    described     by

22   Subdivision (1) or (2).

23          (b)AAIf a claimant prevails in an action brought under this

24   section, the court shall award:

25                  (1)AAinjunctive         relief      sufficient   to     prevent       the

26   defendant from violating this subchapter or engaging in acts that

27   aid or abet violations of this subchapter;




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1                 (2)AAstatutory damages in an amount of not less than

2    $10,000 for each abortion that the defendant performed or induced

3    in violation of this subchapter, and for each abortion performed or

4    induced in violation of this subchapter that the defendant aided or

5    abetted; and

6                 (3)AAcosts and attorney ’s fees.

7          (c)AANotwithstanding Subsection (b), a court may not award

8    relief under this section in response to a violation of Subsection

9    (a)(1) or (2) if the defendant demonstrates that the defendant

10   previously     paid   the   full   amount   of   statutory   damages   under

11   Subsection (b)(2) in a previous action for that particular abortion

12   performed or induced in violation of this subchapter, or for the

13   particular conduct that aided or abetted an abortion performed or

14   induced in violation of this subchapter.

15         (d)AANotwithstanding Chapter 16, Civil Practice and Remedies

16   Code, or any other law, a person may bring an action under this

17   section not later than the fourth anniversary of the date the cause

18   of action accrues.

19         (e)AANotwithstanding any other law, the following are not a

20   defense to an action brought under this section:

21                (1)AAignorance or mistake of law;

22                (2)AAa defendant ’s belief that the requirements of this

23   subchapter are unconstitutional or were unconstitutional;

24                (3)AAa defendant ’s reliance on any court decision that

25   has been overruled on appeal or by a subsequent court, even if that

26   court decision had not been overruled when the defendant engaged in

27   conduct that violates this subchapter;




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1                  (4)AAa   defendant ’s     reliance   on   any    state     or   federal

2    court decision that is not binding on the court in which the action

3    has been brought;

4                  (5)AAnon-mutual issue preclusion or non-mutual claim

5    preclusion;

6                  (6)AAthe consent of the unborn child ’s mother to the

7    abortion; or

8                  (7)AAany claim that the enforcement of this subchapter

9    or the imposition of civil liability against the defendant will

10   violate    the   constitutional    rights    of    third   parties,      except    as

11   provided by Section 171.209.

12            (f)AAIt is an affirmative defense if:

13                 (1)AAa person sued under Subsection (a)(2) reasonably

14   believed, after conducting a reasonable investigation, that the

15   physician performing or inducing the abortion had complied or would

16   comply with this subchapter; or

17                 (2)AAa person sued under Subsection (a)(3) reasonably

18   believed, after conducting a reasonable investigation, that the

19   physician performing or inducing the abortion will comply with this

20   subchapter.

21            (f-1)AAThe defendant has the burden of proving an affirmative

22   defense under Subsection (f)(1) or (2) by a preponderance of the

23   evidence.

24            (g)AAThis section may not be construed to impose liability on

25   any speech or conduct protected by the First Amendment of the United

26   States Constitution, as made applicable to the states through the

27   United    States   Supreme   Court ’s   interpretation        of   the   Fourteenth




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1    Amendment       of   the   United   States       Constitution,     or    by    Section   8,

2    Article I, Texas Constitution.

3             (h)AANotwithstanding         any    other      law,   this     state,    a   state

4    official, or a district or county attorney may not intervene in an

5    action    brought      under   this   section.          This   subsection        does    not

6    prohibit    a    person    described    by       this   subsection      from   filing    an

7    amicus curiae brief in the action.

8             (i)AANotwithstanding any other law, a court may not award

9    costs or attorney ’s fees under the Texas Rules of Civil Procedure or

10   any other rule adopted by the supreme court under Section 22.004,

11   Government Code, to a defendant in an action brought under this

12   section.

13            (j)AANotwithstanding any other law, a civil action under this

14   section may not be brought by a person who impregnated the abortion

15   patient through an act of rape, sexual assault, incest, or any other

16   act prohibited by Sections 22.011, 22.021, or 25.02, Penal Code.

17            Sec.A171.209.AACIVIL         LIABILITY:           UNDUE        BURDEN    DEFENSE

18   LIMITATIONS.         (a)AAA defendant against whom an action is brought

19   under Section 171.208 does not have standing to assert the rights of

20   women seeking an abortion as a defense to liability under that

21   section unless:

22                   (1)AAthe United States Supreme Court holds that the

23   courts of this state must confer standing on that defendant to

24   assert the third-party rights of women seeking an abortion in state

25   court as a matter of federal constitutional law; or

26                   (2)AAthe defendant has standing to assert the rights of

27   women seeking an abortion under the tests for third-party standing




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1    established by the United States Supreme Court.

2          (b)AAA defendant in an action brought under Section 171.208

3    may assert an affirmative defense to liability under this section

4    if:

5                  (1)AAthe    defendant     has     standing     to     assert     the

6    third-party rights of a woman or group of women seeking an abortion

7    in accordance with Subsection (a); and

8                  (2)AAthe defendant demonstrates that the relief sought

9    by the claimant will impose an undue burden on that woman or that

10   group of women seeking an abortion.

11         (c)AAA court may not find an undue burden under Subsection

12   (b) unless the defendant introduces evidence proving that:

13                 (1)AAan award of relief will prevent a woman or a group

14   of women from obtaining an abortion; or

15                 (2)AAan    award   of   relief    will    place   a   substantial

16   obstacle in the path of a woman or a group of women who are seeking

17   an abortion.

18         (d)AAA defendant may not establish an undue burden under this

19   section by:

20                 (1)AAmerely demonstrating that an award of relief will

21   prevent women from obtaining support or assistance, financial or

22   otherwise, from others in their effort to obtain an abortion; or

23                 (2)AAarguing or attempting to demonstrate that an award

24   of relief against other defendants or other potential defendants

25   will impose an undue burden on women seeking an abortion.

26         (e)AAThe    affirmative     defense     under    Subsection   (b)   is   not

27   available if the United States Supreme Court overrules Roe v. Wade,




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1    410 U.S. 113 (1973) or Planned Parenthood v. Casey, 505 U.S. 833

2    (1992), regardless of whether the conduct on which the cause of

3    action is based under Section 171.208 occurred before the Supreme

4    Court overruled either of those decisions.

5          (f)AANothing     in    this     section     shall      in   any   way    limit   or

6    preclude   a    defendant    from     asserting        the   defendant ’s       personal

7    constitutional     rights    as   a   defense     to    liability       under   Section

8    171.208, and a court may not award relief under Section 171.208 if

9    the conduct for which the defendant has been sued was an exercise of

10   state or federal constitutional rights that personally belong to

11   the defendant.

12         Sec.A171.210.AACIVIL                     LIABILITY:                        VENUE.

13   (a)AANotwithstanding        any   other    law,    including       Section      15.002,

14   Civil Practice and Remedies Code, a civil action brought under

15   Section 171.208 shall be brought in:

16                  (1)AAthe county in which all or a substantial part of

17   the events or omissions giving rise to the claim occurred;

18                  (2)AAthe county of residence for any one of the natural

19   person defendants at the time the cause of action accrued;

20                  (3)AAthe county of the principal office in this state of

21   any one of the defendants that is not a natural person; or

22                  (4)AAthe county of residence for the claimant if the

23   claimant is a natural person residing in this state.

24         (b)AAIf a civil action is brought under Section 171.208 in

25   any one of the venues described by Subsection (a), the action may

26   not be transferred to a different venue without the written consent

27   of all parties.




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1           Sec.A171.211.AASOVEREIGN,              GOVERNMENTAL,       AND      OFFICIAL

2    IMMUNITY     PRESERVED.           (a)AAThis    section     prevails       over     any

3    conflicting law, including:

4                  (1)AAthe Uniform Declaratory Judgments Act; and

5                  (2)AAChapter 37, Civil Practice and Remedies Code.

6           (b)AAThis       state      has   sovereign     immunity,      a    political

7    subdivision     has    governmental      immunity,      and   each     officer     and

8    employee of this state or a political subdivision has official

9    immunity in any action, claim, or counterclaim or any type of legal

10   or equitable action that challenges the validity of any provision

11   or   application      of   this   chapter,    on    constitutional       grounds   or

12   otherwise.

13          (c)AAA provision of state law may not be construed to waive or

14   abrogate   an   immunity       described      by    Subsection    (b)    unless    it

15   expressly waives immunity under this section.

16          Sec.A171.212.AASEVERABILITY.                (a)AAMindful   of     Leavitt   v.

17   Jane L., 518 U.S. 137 (1996), in which in the context of determining

18   the severability of a state statute regulating abortion the United

19   States Supreme Court held that an explicit statement of legislative

20   intent is controlling, it is the intent of the legislature that

21   every provision, section, subsection, sentence, clause, phrase, or

22   word in this chapter, and every application of the provisions in

23   this chapter, are severable from each other.

24          (b)AAIf any application of any provision in this chapter to

25   any person, group of persons, or circumstances is found by a court

26   to be invalid or unconstitutional, the remaining applications of

27   that provision to all other persons and circumstances shall be




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1    severed   and    may   not   be   affected.        All   constitutionally           valid

2    applications of this chapter shall be severed from any applications

3    that a court finds to be invalid, leaving the valid applications in

4    force, because it is the legislature ’s intent and priority that the

5    valid applications be allowed to stand alone.                   Even if a reviewing

6    court finds a provision of this chapter to impose an undue burden in

7    a large or substantial fraction of relevant cases, the applications

8    that do not present an undue burden shall be severed from the

9    remaining applications and shall remain in force, and shall be

10   treated as if the legislature had enacted a statute limited to the

11   persons, group of persons, or circumstances for which the statute ’s

12   application does not present an undue burden.

13           (b-1)AAIf any court declares or finds a provision of this

14   chapter facially unconstitutional, when discrete applications of

15   that provision can be enforced against a person, group of persons,

16   or circumstances without violating the United States Constitution

17   and Texas Constitution, those applications shall be severed from

18   all remaining applications of the provision, and the provision

19   shall be interpreted as if the legislature had enacted a provision

20   limited to the persons, group of persons, or circumstances for

21   which   the   provision ’s    application        will    not    violate     the   United

22   States Constitution and Texas Constitution.

23           (c)AAThe   legislature      further      declares       that   it   would   have

24   enacted   this   chapter,     and   each   provision,          section,     subsection,

25   sentence,     clause,    phrase,     or        word,    and     all    constitutional

26   applications of this chapter, irrespective of the fact that any

27   provision, section, subsection, sentence, clause, phrase, or word,




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1    or   applications     of     this        chapter,        were    to     be    declared

2    unconstitutional or to represent an undue burden.

3           (d)AAIf any provision of this chapter is found by any court to

4    be   unconstitutionally      vague,       then     the    applications         of   that

5    provision that do not present constitutional vagueness problems

6    shall be severed and remain in force.

7           (e)AANo   court     may   decline      to    enforce       the   severability

8    requirements of Subsections (a), (b), (b-1), (c), and (d) on the

9    ground that severance would rewrite the statute or involve the

10   court in legislative or lawmaking activity.                 A court that declines

11   to enforce or enjoins a state official from enforcing a statutory

12   provision does not rewrite a statute, as the statute continues to

13   contain the same words as before the court ’s decision.                      A judicial

14   injunction or declaration of unconstitutionality:

15               (1)AAis      nothing     more        than     an    edict    prohibiting

16   enforcement that may subsequently be vacated by a later court if

17   that court has a different understanding of the requirements of the

18   Texas Constitution or United States Constitution;

19               (2)AAis not a formal amendment of the language in a

20   statute; and

21               (3)AAno more rewrites a statute than a decision by the

22   executive not to enforce a duly enacted statute in a limited and

23   defined set of circumstances.

24          SECTIONA4.AAChapter 30, Civil Practice and Remedies Code, is

25   amended by adding Section 30.022 to read as follows:

26          Sec.A30.022.AAAWARD          OF     ATTORNEY ’S          FEES    IN     ACTIONS

27   CHALLENGING ABORTION LAWS.       (a)      Notwithstanding any other law, any




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1    person,   including     an    entity,     attorney,         or     law    firm,   who     seeks

2    declaratory or injunctive relief to prevent this state, a political

3    subdivision, any governmental entity or public official in this

4    state, or any person in this state from enforcing any statute,

5    ordinance,    rule,     regulation,        or    any    other        type    of     law    that

6    regulates or restricts abortion or that limits taxpayer funding for

7    individuals or entities that perform or promote abortions, in any

8    state or federal court, or that represents any litigant seeking

9    such relief in any state or federal court, is jointly and severally

10   liable to pay the costs and attorney ’s fees of the prevailing party.

11         (b)AAFor purposes of this section, a party is considered a

12   prevailing party if a state or federal court:

13                (1)AAdismisses any claim or cause of action brought

14   against the party that seeks the declaratory or injunctive relief

15   described    by   Subsection       (a),   regardless          of    the    reason    for   the

16   dismissal; or

17                (2)AAenters judgment in the party ’s favor on any such

18   claim or cause of action.

19         (c)AARegardless         of   whether       a    prevailing          party   sought    to

20   recover   costs    or   attorney ’s       fees   in     the      underlying       action,    a

21   prevailing party under this section may bring a civil action to

22   recover costs and attorney ’s fees against a person, including an

23   entity,   attorney,      or    law    firm,          that   sought         declaratory      or

24   injunctive relief described by Subsection (a) not later than the

25   third anniversary of the date on which, as applicable:

26                (1)AAthe dismissal or judgment described by Subsection

27   (b) becomes final on the conclusion of appellate review; or




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1                 (2)AAthe time for seeking appellate review expires.

2          (d)AAIt      is     not   a   defense   to   an    action   brought    under

3    Subsection (c) that:

4                 (1)AAa prevailing party under this section failed to

5    seek recovery of costs or attorney ’s fees in the underlying action;

6                 (2)AAthe court in the underlying action declined to

7    recognize or enforce the requirements of this section; or

8                 (3)AAthe court in the underlying action held that any

9    provisions    of   this     section    are    invalid,    unconstitutional,    or

10   preempted by federal law, notwithstanding the doctrines of issue or

11   claim preclusion.

12         SECTIONA5.AASubchapter C, Chapter 311, Government Code, is

13   amended by adding Section 311.036 to read as follows:

14         Sec.A311.036.AACONSTRUCTION OF ABORTION STATUTES.                     (a)AAA

15   statute that regulates or prohibits abortion may not be construed

16   to repeal any other statute that regulates or prohibits abortion,

17   either wholly or partly, unless the repealing statute explicitly

18   states that it is repealing the other statute.

19         (b)AAA statute may not be construed to restrict a political

20   subdivision from regulating or prohibiting abortion in a manner

21   that is at least as stringent as the laws of this state unless the

22   statute     explicitly      states     that    political      subdivisions     are

23   prohibited from regulating or prohibiting abortion in the manner

24   described by the statute.

25         (c)AAEvery statute that regulates or prohibits abortion is

26   severable    in    each    of   its   applications       to   every   person   and

27   circumstance.      If any statute that regulates or prohibits abortion




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1    is found by any court to be unconstitutional, either on its face or

2    as    applied,     then   all   applications     of    that   statute      that   do   not

3    violate the United States Constitution and Texas Constitution shall

4    be severed from the unconstitutional applications and shall remain

5    enforceable, notwithstanding any other law, and the statute shall

6    be interpreted as if containing language limiting the statute ’s

7    application to the persons, group of persons, or circumstances for

8    which the statute ’s application will not violate the United States

9    Constitution and Texas Constitution.

10            SECTIONA6.AASection          171.005,    Health      and   Safety    Code,    is

11   amended to read as follows:

12            Sec.A171.005.AACOMMISSION               [DEPARTMENT]         TO       ENFORCE;

13   EXCEPTION.        The commission [department] shall enforce this chapter

14   except      for   Subchapter     H,   which    shall    be    enforced     exclusively

15   through the private civil enforcement actions described by Section

16   171.208 and may not be enforced by the commission.

17            SECTIONA7.AASubchapter         A,    Chapter    171,   Health      and   Safety

18   Code, is amended by adding Section 171.008 to read as follows:

19            Sec.A171.008.AAREQUIRED DOCUMENTATION.                 (a)AAIf an abortion

20   is performed or induced on a pregnant woman because of a medical

21   emergency, the physician who performs or induces the abortion shall

22   execute a written document that certifies the abortion is necessary

23   due    to   a   medical    emergency    and    specifies      the   woman ’s      medical

24   condition requiring the abortion.

25            (b)AAA physician shall:

26                     (1)AAplace the document described by Subsection (a) in

27   the pregnant woman ’s medical record; and




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1                (2)AAmaintain       a     copy    of    the   document        described       by

2    Subsection (a) in the physician ’s practice records.

3          (c)AAA physician who performs or induces an abortion on a

4    pregnant woman shall:

5                (1)AAif       the   abortion       is    performed       or    induced        to

6    preserve   the   health    of   the    pregnant      woman,    execute          a   written

7    document that:

8                       (A)AAspecifies the medical condition the abortion

9    is asserted to address; and

10                      (B)AAprovides         the       medical    rationale             for   the

11   physician ’s conclusion that the abortion is necessary to address

12   the medical condition; or

13               (2)AAfor an abortion other than an abortion described

14   by Subdivision (1), specify in a written document that maternal

15   health is not a purpose of the abortion.

16         (d)AAThe    physician      shall       maintain     a   copy   of     a       document

17   described by Subsection (c) in the physician ’s practice records.

18         SECTIONA8.AASection 171.012(a), Health and Safety Code, is

19   amended to read as follows:

20         (a)AAConsent to an abortion is voluntary and informed only

21   if:

22               (1)AAthe      physician     who    is    to   perform    or     induce        the

23   abortion informs the pregnant woman on whom the abortion is to be

24   performed or induced of:

25                      (A)AAthe physician ’s name;

26                      (B)AAthe particular medical risks associated with

27   the particular abortion procedure to be employed, including, when




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1    medically accurate:

2                                 (i)AAthe risks of infection and hemorrhage;

3                                 (ii)AAthe potential danger to a subsequent

4    pregnancy and of infertility; and

5                                 (iii)AAthe possibility of increased risk of

6    breast    cancer     following     an   induced     abortion        and    the   natural

7    protective     effect   of   a    completed    pregnancy      in    avoiding      breast

8    cancer;

9                          (C)AAthe probable gestational age of the unborn

10   child at the time the abortion is to be performed or induced; and

11                         (D)AAthe medical risks associated with carrying

12   the child to term;

13                  (2)AAthe   physician      who   is    to    perform    or    induce   the

14   abortion or the physician ’s agent informs the pregnant woman that:

15                         (A)AAmedical assistance benefits may be available

16   for prenatal care, childbirth, and neonatal care;

17                         (B)AAthe father is liable for assistance in the

18   support   of   the   child   without    regard      to    whether    the    father   has

19   offered to pay for the abortion; and

20                         (C)AApublic       and     private        agencies          provide

21   pregnancy      prevention        counseling    and        medical     referrals      for

22   obtaining pregnancy prevention medications or devices, including

23   emergency contraception for victims of rape or incest;

24                  (3)AAthe   physician      who   is    to    perform    or    induce   the

25   abortion or the physician ’s agent:

26                         (A)AAprovides the pregnant woman with the printed

27   materials described by Section 171.014; and




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1                             (B)AAinforms     the      pregnant      woman        that      those

2    materials:

3                                  (i)AAhave      been    provided     by    the    commission

4    [Department of State Health Services];

5                                  (ii)AAare accessible on an Internet website

6    sponsored by the commission [department];

7                                  (iii)AAdescribe        the   unborn       child     and   list

8    agencies that offer alternatives to abortion; and

9                                  (iv)AAinclude a list of agencies that offer

10   sonogram services at no cost to the pregnant woman;

11                 (4)AAbefore any sedative or anesthesia is administered

12   to the pregnant woman and at least 24 hours before the abortion or

13   at least two hours before the abortion if the pregnant woman waives

14   this requirement by certifying that she currently lives 100 miles

15   or   more   from    the    nearest   abortion       provider     that    is   a   facility

16   licensed under Chapter 245 or a facility that performs more than 50

17   abortions in any 12-month period:

18                            (A)AAthe physician who is to perform or induce the

19   abortion or an agent of the physician who is also a sonographer

20   certified by a national registry of medical sonographers performs a

21   sonogram    on     the    pregnant   woman    on    whom   the   abortion         is   to   be

22   performed or induced;

23                            (B)AAthe physician who is to perform or induce the

24   abortion displays the sonogram images in a quality consistent with

25   current medical practice in a manner that the pregnant woman may

26   view them;

27                            (C)AAthe physician who is to perform or induce the




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1    abortion provides, in a manner understandable to a layperson, a

2    verbal explanation of the results of the sonogram images, including

3    a medical description of the dimensions of the embryo or fetus, the

4    presence of cardiac activity, and the presence of external members

5    and internal organs; and

6                       (D)AAthe physician who is to perform or induce the

7    abortion or an agent of the physician who is also a sonographer

8    certified by a national registry of medical sonographers makes

9    audible the heart auscultation for the pregnant woman to hear, if

10   present, in a quality consistent with current medical practice and

11   provides, in a manner understandable to a layperson, a simultaneous

12   verbal explanation of the heart auscultation;

13               (5)AAbefore    receiving   a   sonogram   under   Subdivision

14   (4)(A) and before the abortion is performed or induced and before

15   any sedative or anesthesia is administered, the pregnant woman

16   completes and certifies with her signature an election form that

17   states as follows:

18                      "ABORTION AND SONOGRAM ELECTION

19               (1)AATHE INFORMATION AND PRINTED MATERIALS DESCRIBED BY

20   SECTIONS 171.012(a)(1)-(3), TEXAS HEALTH AND SAFETY CODE, HAVE BEEN

21   PROVIDED AND EXPLAINED TO ME.

22               (2)AAI UNDERSTAND THE NATURE AND CONSEQUENCES OF AN

23   ABORTION.

24               (3)AATEXAS LAW REQUIRES THAT I RECEIVE A SONOGRAM PRIOR

25   TO RECEIVING AN ABORTION.

26               (4)AAI UNDERSTAND THAT I HAVE THE OPTION TO VIEW THE

27   SONOGRAM IMAGES.




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1                   (5)AAI UNDERSTAND THAT I HAVE THE OPTION TO HEAR THE

2    HEARTBEAT.

3                   (6)AAI UNDERSTAND THAT I AM REQUIRED BY LAW TO HEAR AN

4    EXPLANATION OF THE SONOGRAM IMAGES UNLESS I CERTIFY IN WRITING TO

5    ONE OF THE FOLLOWING:

6                   ___ I AM PREGNANT AS A RESULT OF A SEXUAL ASSAULT,

7    INCEST, OR OTHER VIOLATION OF THE TEXAS PENAL CODE THAT HAS BEEN

8    REPORTED      TO   LAW   ENFORCEMENT    AUTHORITIES    OR   THAT   HAS    NOT   BEEN

9    REPORTED BECAUSE I REASONABLY BELIEVE THAT DOING SO WOULD PUT ME AT

10   RISK OF RETALIATION RESULTING IN SERIOUS BODILY INJURY.

11                  ___ I AM A MINOR AND OBTAINING AN ABORTION IN ACCORDANCE

12   WITH JUDICIAL BYPASS PROCEDURES UNDER CHAPTER 33, TEXAS FAMILY

13   CODE.

14                  ___ MY UNBORN CHILD [FETUS] HAS AN IRREVERSIBLE MEDICAL

15   CONDITION     OR   ABNORMALITY,    AS   IDENTIFIED     BY   RELIABLE   DIAGNOSTIC

16   PROCEDURES AND DOCUMENTED IN MY MEDICAL FILE.

17                  (7)AAI AM MAKING THIS ELECTION OF MY OWN FREE WILL AND

18   WITHOUT COERCION.

19                  (8)AAFOR A WOMAN WHO LIVES 100 MILES OR MORE FROM THE

20   NEAREST ABORTION PROVIDER THAT IS A FACILITY LICENSED UNDER CHAPTER

21   245, TEXAS HEALTH AND SAFETY CODE, OR A FACILITY THAT PERFORMS MORE

22   THAN 50 ABORTIONS IN ANY 12-MONTH PERIOD ONLY:

23                  I CERTIFY THAT, BECAUSE I CURRENTLY LIVE 100 MILES OR

24   MORE FROM THE NEAREST ABORTION PROVIDER THAT IS A FACILITY LICENSED

25   UNDER CHAPTER 245 OR A FACILITY THAT PERFORMS MORE THAN 50 ABORTIONS

26   IN ANY 12-MONTH PERIOD, I WAIVE THE REQUIREMENT TO WAIT 24 HOURS

27   AFTER   THE    SONOGRAM    IS   PERFORMED     BEFORE   RECEIVING   THE    ABORTION




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1    PROCEDURE. MY PLACE OF RESIDENCE IS:__________.

2             ____________________                 ____________________

3             SIGNATUREAAAAAAAAAAAAAAAAAAAAAAAADATE";

4                  (6)AAbefore the abortion is performed or induced, the

5    physician who is to perform or induce the abortion receives a copy

6    of the signed, written certification required by Subdivision (5);

7    and

8                  (7)AAthe pregnant woman is provided the name of each

9    person who provides or explains the information required under this

10   subsection.

11            SECTIONA9.AASection 245.011(c), Health and Safety Code, is

12   amended to read as follows:

13            (c)AAThe report must include:

14                 (1)AAwhether   the   abortion    facility   at   which   the

15   abortion is performed is licensed under this chapter;

16                 (2)AAthe patient ’s year of birth, race, marital status,

17   and state and county of residence;

18                 (3)AAthe type of abortion procedure;

19                 (4)AAthe date the abortion was performed;

20                 (5)AAwhether the patient survived the abortion, and if

21   the patient did not survive, the cause of death;

22                 (6)AAthe probable post-fertilization age of the unborn

23   child based on the best medical judgment of the attending physician

24   at the time of the procedure;

25                 (7)AAthe date, if known, of the patient ’s last menstrual

26   cycle;

27                 (8)AAthe number of previous live births of the patient;




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1    [and]

2                  (9)AAthe number of previous induced abortions of the

3    patient;

4                  (10)AAwhether   the   abortion   was   performed   or    induced

5    because of a medical emergency and any medical condition of the

6    pregnant woman that required the abortion; and

7                  (11)AAthe   information      required      under        Sections

8    171.008(a) and (c).

9             SECTIONA10.AAEvery   provision    in    this    Act     and     every

10   application of the provision in this Act are severable from each

11   other.    If any provision or application of any provision in this Act

12   to any person, group of persons, or circumstance is held by a court

13   to be invalid, the invalidity does not affect the other provisions

14   or applications of this Act.

15            SECTIONA11.AAThe change in law made by this Act applies only

16   to an abortion performed or induced on or after the effective date

17   of this Act.

18            SECTIONA12.AAThis Act takes effect September 1, 2021.




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______________________________AAAA______________________________
     President of the SenateAAAAAAAAAAAAASpeaker of the House

      I   hereby   certify   that    S.B.ANo.A8    passed    the   Senate   on

MarchA30,A2021, by the following vote:          YeasA19, NaysA12; and that

the Senate concurred in House amendments on MayA13,A2021, by the

following vote: YeasA18, NaysA12.



                                          ______________________________
                                          AAAASecretary of the Senate

      I   hereby   certify   that   S.B.ANo.A8    passed    the   House,   with

amendments,   on   MayA6,A2021,     by   the   following   vote:     YeasA83,

NaysA64, one present not voting.



                                          ______________________________
                                          AAAAChief Clerk of the House


Approved:


______________________________
AAAAAAAAAAAAADate



______________________________
AAAAAAAAAAAGovernor




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